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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                 Master Case No.:
                                              1:21-MI-55555-JPB



UNITED STATES OF AMERICA,
                                              Civil Action No.:
                Plaintiff,                    1:21-CV-02575-JPB

                  v.

THE STATE OF GEORGIA, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.


 STATE DEFENDANTS’ MOTION FOR RECONSIDERATION OR, IN
 THE ALTERNATIVE, CERTIFICATION FOR IMMEDIATE APPEAL

      Pursuant to Civil Local Rule 7.2(E), Defendants hereby move for

reconsideration of this Court’s Order of December 9, 2021, prior to the

consolidation of the SB 202 cases, in United States v. State of Georgia, No. 1:21-

CV-02575-JPB [Doc. 69], denying State Defendants’ motion to dismiss the

Complaint on the ground that the Eleventh Circuit’s decision in Johnson v.
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DeSoto County Board of Commissioners, 72 F.3d 1556 (11th Cir. 1996),

requires Plaintiffs to plead and prove discriminatory results in all cases under

Section 2 of the Voting Rights Act.     In the alternative, State Defendants

respectfully move the Court to certify the Order for immediate appeal under

28 U.S.C. § 1292(b).

                                    Respectfully submitted,

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Dated: January 6, 2022




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
